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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-94-00766-CR&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;George Bastian, Appellant&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. 0941309, HONORABLE JACK HAMPTON, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

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&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	Appellant pleaded guilty to fraudulently obtaining worker's compensation.  Act of
August 25, 1991, 72d Leg., R.S., ch. 12, § 18.20, 1991 Tex. Gen. Laws 252, 361 (Tex. Penal
Code Ann. § 32.54, since repealed).  The district court, after finding that the evidence
substantiated appellant's guilt, deferred further proceedings and placed appellant on community
supervision for five years pursuant to a plea bargain agreement. &lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	Appellant's court-appointed attorney filed a brief in which he concludes that the
appeal is frivolous and without merit.  The brief meets the requirements of &lt;EM&gt;Anders v. California&lt;/EM&gt;,
386 U.S. 738 (1967), by advancing a contention which counsel says might arguably support the
appeal.  &lt;EM&gt;See also&lt;/EM&gt; &lt;EM&gt;Penson v. Ohio&lt;/EM&gt;, 488 U.S. 75 (1988); &lt;EM&gt;Gainous v. State&lt;/EM&gt;, 436  S.W.2d 137 (Tex.
Crim. App. 1969); &lt;EM&gt;Jackson v. State&lt;/EM&gt;, 485  S.W.2d 553 (Tex. Crim. App. 1972); &lt;EM&gt;Currie v. State&lt;/EM&gt;,
516  S.W.2d 684 (Tex. Crim. App. 1974); &lt;EM&gt;High v. State&lt;/EM&gt;, 573  S.W.2d 807 (Tex. Crim. App.
1978).  A copy of counsel's brief was delivered to appellant, and appellant was advised of his
right to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	Appellant's notice of appeal does not preserve for review the district court's rulings
on appellant's pretrial motions and does not state that the court gave appellant permission to
appeal.  As a result, we have jurisdiction in this cause only to consider jurisdictional issues.  &lt;EM&gt;Lyon
v. State&lt;/EM&gt;, 872 S.W.2d 732, 736 (Tex. Crim. App. 1994); &lt;EM&gt;Davis v. State&lt;/EM&gt;, 870 S.W.2d 43, 46 (Tex.
Crim. App. 1994); &lt;EM&gt;Hutchins v. State&lt;/EM&gt;, 887 S.W.2d 207, 209 (Tex. App.--Austin 1994, pet. ref'd);
&lt;EM&gt;Fowler v. State&lt;/EM&gt;, 874 S.W.2d 112, 114 (Tex. App.--Austin 1994, pet. ref'd); Tex. R. App. P.
40(b)(1).  Appellant's brief does not question the jurisdiction of the district court over either the
subject matter of this cause or appellant personally.  &lt;EM&gt;Fairfield v. State&lt;/EM&gt;, 610 S.W.2d 771, 779(Tex. Crim. App. 1981).  &lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	In light of the frivolous appeal brief, we have examined the record and find no basis
for challenging the district court's jurisdiction.  Under the circumstances, we do not have
jurisdiction of this appeal.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	The appeal is dismissed.&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Before Chief Justice Carroll, Justices Aboussie and Kidd&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Dismissed for Want of Jurisdiction&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Filed:   February 28, 1996&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

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